
Clinton Place Medical, P.C., as Assignee of Araujo Carmencita, Appellant,
againstUSAA Casualty Ins. Co., Respondent.




Korsunskiy Legal Group, P.C. (Michael Hoenig, Esq.), for appellant.
McDonnell &amp; Adels, PLLC (Linda A. Mule, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Wavny Toussaint, J.), entered September 5, 2013. The order, insofar as appealed from, granted defendant's motion to dismiss the complaint pursuant to CPLR 3126 or, in the alternative, to compel plaintiff to respond to defendant's discovery demands, to the extent of compelling plaintiff to respond to defendant's discovery demands and to produce plaintiff's owner for an examination before trial, and denied plaintiff's cross motion for summary judgment.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from so much of an order of the Civil Court as denied plaintiff's cross motion for summary judgment and granted defendant's motion to dismiss the complaint pursuant to CPLR 3126 or, in the alternative, to compel plaintiff to respond to defendant's notice for discovery and inspection, and its "demand for verified written interrogatories," to the extent of compelling plaintiff to provide defendant with, among other things, verified responses to defendant's discovery demands, including "W-2(s), 1099(s) &amp; 941 tax forms; office records, bank records, management, billing &amp; rental agreements; annual salary of owner and employee; [and] proof of payment regarding use of office space," and to produce plaintiff's owner for an examination before trial.
For the reasons stated in Clinton Place Med., P.C., as Assignee of Araujo Carmencita v USAA Cas. Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op ______ [appeal No. 2014-1033 K C], decided herewith), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 11, 2017










